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                                  CENTRAL DISTRICT OF CALIFORNIA
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    9                      UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11                             WESTERN DIVISION
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   13   CARPENTERS SOUTHWEST                     ) CASE NO. CV 09-06795
        ADMINISTRATIVE CORPORATION, )                   MMM(PJWx)
   14   a California non-profit corporation; and )
        BOARD OF TRUSTEES FOR THE                )
   15   CARPENTERS SOUTHWEST TRUSTS, )                 CORRECTED
                                                 ) AMENDED [PROPOSED]
   16                             Plaintiffs,    ) JUDGMENT
                                                 )
   17   v.                                       )
                                                 )
   18   MARTIN ANTONIO BELTRAN,                  )
        individually and as a partner of DINASTY)
   19   WOOD INTERIORS, a partnership;           )
        JAIME PIZANO, individually and as a )
   20   partner of DINASTY WOOD                  )
        INTERIORS, a partnership; DINASTY )
   21   WOOD INTERIORS, a partnership and )
        DOES 1through 10, inclusive,             )
   22                                            )
                                  Defendants.    )
   23   __________________________________)
   24

   25        It appearing that defendants, MARTIN ANTONIO BELTRAN, individually
   26   and as a partner of DINASTY WOOD INTERIORS, a partnership, JAIME
   27   PIZANO, individually and as a partner of DINASTY WOOD INTERIORS, a
   28   partnership and DINASTY WOOD INTERIORS, a partnership,
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    1   ("DEFENDANTS") having been regularly served with process, having failed to
    2   plead or otherwise defend this action and its default having been entered; on
    3   application of the CARPENTERS SOUTHWEST ADMINISTRATIVE
    4   CORPORATION and BOARD OF TRUSTEES FOR THE CARPENTERS
    5   SOUTHWEST TRUSTS, to the Court and after having considered the papers and
    6   arguments submitted in support thereof, and good cause appearing therefore,
    7          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
    8   CARPENTERS SOUTHWEST ADMINISTRATIVE CORPORATION and
    9   BOARD OF TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS
   10   have judgment as follows:
   11                AS TO CARPENTERS SOUTHWEST ADMINISTRATIVE
   12   CORPORATION and BOARD OF TRUSTEES FOR THE CARPENTERS
   13   SOUTHWEST TRUSTS' FIRST CLAIM FOR RELIEF AGAINST MARTIN
   14   ANTONIO BELTRAN, individually and as a partner of DINASTY WOOD
   15   INTERIORS, a partnership, JAIME PIZANO, individually and as a partner of
   16   DINASTY WOOD INTERIORS, a partnership and DINASTY WOOD
   17   INTERIORS, a partnership:
   18   1.     Unpaid contributions                                              $19,221.27
   19   2.     Prejudgment interest                                                2,005.78
   20   3.     Liquidated damages based on original contributions                  9,936.59
   21   4.     Audit Fees                                                               338.00
   22   5.     Attorneys' fees pursuant to Local Rule 55-3                          2,376.16
   23   GRAND TOTAL                                                              $33,877.80
   24   7.     Plus costs to be determined after entry
               of judgment.
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        8.     Pursuant to 28 U.S.C. §1961(a), this judgment
   26          shall bear interest at the rate of 0.25% per annum.
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    1                AS TO CARPENTERS SOUTHWEST ADMINISTRATIVE
    2   CORPORATION and BOARD OF TRUSTEES FOR THE CARPENTERS
    3   SOUTHWEST TRUSTS' SECOND CLAIM FOR RELIEF AGAINST AGAINST
    4   MARTIN ANTONIO BELTRAN, individually and as a partner of DINASTY
    5   WOOD INTERIORS, a partnership, JAIME PIZANO, individually and as a
    6   partner of DINASTY WOOD INTERIORS, a partnership and DINASTY WOOD
    7   INTERIORS, a partnership:
    8          1.    For issuance of a permanent injunction restraining and enjoining
    9   DEFENDANTS for so long as they remain bound to make any payments or
   10   contributions to the PLANS, from failing to deliver or cause to be delivered to
   11   CARPENTERS SOUTHWEST ADMINISTRATIVE CORPORATION, the
   12   following:
   13                a.    Complete, truthful and accurate Employers Monthly Reports to
   14   Trustees for the period August 2009 through the present,
   15                b.    A complete, truthful and accurate Employers Monthly Report to
   16   Trustees covering all employees of DEFENDANTS, employed during the previous
   17   month under the AGREEMENT,
   18                c.    A declaration from a responsible employee of DEFENDANTS,
   19   attesting from his or her personal knowledge under penalties of perjury to the
   20   completeness, truthfulness and accuracy for DEFENDANTS’ Monthly Report; and
   21                d.    Checks for the full amount shown as owing to each Trust on
   22   DEFENDANTS' Monthly Report, payable as designated on the Monthly Report.
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    1                AS TO CARPENTERS SOUTHWEST ADMINISTRATIVE
    2   CORPORATION and BOARD OF TRUSTEES FOR THE CARPENTERS
    3   SOUTHWEST TRUSTS'S THIRD CLAIM FOR RELIEF AGAINST MARTIN
    4   ANTONIO BELTRAN, individually and as a partner of DINASTY WOOD
    5   INTERIORS, a partnership, JAIME PIZANO, individually and as a partner of
    6   DINASTY WOOD INTERIORS, a partnership and DINASTY WOOD
    7   INTERIORS, a partnership:
    8                For an order compelling submission to an audit of their business
    9   records for the period January 23, 2008 to the present and allowing the auditors to
   10   examine and copy the following books, records, papers, documents and reports: all
   11   job cost records, general check register and check stubs, bank statements and
   12   canceled checks, general ledgers, worker compensation insurance reports, financial
   13   statements, cash disbursements ledgers, corporate income tax returns, employee
   14   time cards, payroll journals, individual earnings records of all employees, forms
   15   W-2, 1099 and 1096 submitted to the U.S. Government, California quarterly state
   16   tax returns (DE-3's), health and welfare and pension report for all other trades, cash
   17   receipts' journal, copies of all contracts and all material invoices.
   18

   19   DATED: October 19, 2020
                                          _____________________________________
   20                                     THE HONORABLE PHILLIP S. GUTIERREZ
                                          CHIEF DISTRICT JUDGE
   21
        Presented by,
   22
        DeCARLO, CONNOR &SHANLEY
   23   A Professional Corporation
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   25 By: /s/ Margaret R. Gifford 11/12/10
          MARGARET R. GIFFORD
   26     Attorney for Plaintiffs
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